                      IN THE SUPREME COURT OF NORTH CAROLINA

                                             2021-NCSC-45

                                               No. 224A20

                                           Filed 23 April 2021

      IN THE MATTER OF: D.A.A.R., S.A.L.R.



            Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from order entered on 6

     February 2020 by Judge William B. Davis in District Court, Guilford County. This

     matter was calendared in the Supreme Court on 19 March 2021 but was determined

     on the record and briefs without oral argument pursuant to Rule 30(f) of the North

     Carolina Rules of Appellate Procedure.


            Mercedes O. Chut for petitioner-appellee Guilford County Department of Health
            &amp; Human Services.

            Wyrick Robbins Yates &amp; Ponton LLP, by Sean S. Planchard, for appellee
            Guardian ad Litem.

            Sean P. Vitrano for respondent-appellant mother.


            ERVIN, Justice.

¶1          Respondent-mother Amanda R. appeals from the trial court’s order

     terminating her parental rights in D.A.A.R,1 a minor child born in May 2013.2 After



            1 “D.A.A.R.” will be referred to throughout the remainder of this opinion as “Daniel,”

     which is a pseudonym used to protect his identity and for ease of reading. Daniel’s older
     sister, “S.A.L.R.,” was also a subject of the trial court’s order and will be referred to using the
     pseudonym “Sara” throughout the remainder of this opinion for the same reasons.
             2 The challenged trial court order also terminated the parental rights of the father

     Jesse B. in both children. Although the father noted an appeal to this Court from the trial
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     careful consideration of respondent-mother’s challenges to the trial court’s

     termination order in light of the record and the applicable law, we conclude that the

     trial court’s order should be reversed.

                        I.   Factual and Procedural Background

¶2         On 26 July 2017, the Guilford County Department of Health and Human

     Services filed juvenile petitions alleging that Daniel and Sara were neglected and

     dependent juveniles and obtained the entry of orders taking them into nonsecure

     custody. The process that led to the filing of these juvenile petitions began when

     DHHS received a child protective services report on 7 April 2017 describing an

     incident of domestic violence between the parents during which the father held a gun

     to respondent-mother’s head.     In the course of the ensuing investigation, DHH

     learned of substance abuse by both parents, having been told, among other things,

     that respondent-mother “was selling her Suboxone medication and buying urine to

     pass drug screens in order to receive more Suboxone.” In addition, the parents failed

     to attend scheduled meetings with DHHS personnel and vacated their residence

     without informing DHHS that they intended to do so. On 30 May 2017, the father




     court’s termination order, he subsequently sought leave from this Court to withdraw his
     appeal, a request that this Court allowed on 15 July 2020.
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     was charged with the commission of numerous felonies, including robbery with a

     dangerous weapon and possession of a firearm by a felon.3

¶3          After leaving Sara in the care of a family friend for what was supposed to be a

     single night, respondent-mother was “nowhere to be found” when the friend

     attempted to return Sara to her on the following day. In addition, respondent-mother

     was reported to be homeless and living in a hotel. However, respondent-mother was

     ultimately found with Daniel in the home of a former neighbor after DHHS received

     a report that respondent-mother and the former neighbor had been engaging in

     substance abuse in Daniel’s presence. On 24 July 2017, respondent-mother was

     arrested and taken into custody by officers of the High Point Police Department at

     the neighbor’s residence. Although respondent-mother agreed to place Daniel with

     her grandmother pending her release from the Guilford County Detention Center and

     to participate in a child and family team meeting with DHHS, she failed to attend

     the child and family team meeting, which had been scheduled for 26 July 2017.

¶4          After a hearing held on 16 November 2017 for the purpose of considering the

     issues raised by the neglect and dependency petitions, Judge Angela C. Foster

     entered an order on 8 January 2018 finding that Daniel and Sara were neglected and

     dependent juveniles and continued them in DHHS custody. Judge Foster’s order




            3 The father was eventually convicted of committing serious criminal offenses and was

     serving a lengthy prison sentence at the time of the termination hearing.
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     determined that the barriers to the children’s reunification with the parents included

     their “volatile relationship and history of domestic violence,” their untreated “mental

     health and substance abuse issues,” and the lack of stable housing that was suitable

     for them and the children. Judge Foster noted that, even though respondent-mother

     had been participating in weekly visitation sessions with the children, she had not

     attended the adjudication hearing, with her current location being unknown. As a

     result, Judge Foster ordered respondent-mother to enter into a service agreement

     with DHHS “and [to] begin complying with the terms and conditions of that

     agreement, if she desires reunification.” Respondent-mother was authorized to have

     one hour of supervised visitation with the children each week.

¶5         Respondent-mother finally entered into a family services agreement with

     DHHS on 26 January 2018. The family services agreement between DHHS and

     respondent-mother was intended to address issues relating to substance abuse;

     domestic violence; emotional and mental health; housing, environmental, and basic

     physical needs; and parenting skills.

¶6         Following a hearing held on 8 February 2018, Judge Foster entered a

     permanency planning order on 26 March 2018 in which she established a primary

     permanent plan for the children of reunification with the parents and a secondary

     plan of adoption. After a hearing held on 8 March 2018, Judge Foster authorized
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     Daniel and Sara to visit their maternal aunt and uncle in another state4 pending final

     approval of the aunt and uncle’s residence pursuant to the Interstate Compact on the

     Placement of Children. The children arrived at their aunt and uncle’s residence on

     30 March 2018 and were allowed to remain in this out-of-state placement after DHHS

     presented the approved ICPC home study to Judge Foster on 5 April 2018.

¶7          At the next permanency planning hearing, which was held on 3 May 2018,

     DHHS advised Judge Foster that it had not heard from respondent-mother since the

     February hearing and that her current location remained a mystery. In light of

     respondent-mother’s failure to make any progress toward satisfying the requirements

     of her family services plan and the father’s apparent lack of interest in the children,

     Judge Foster entered an order on 2 July 2018 in which she changed the primary

     permanent plan for the children to one of adoption, with a secondary plan of

     reunification. In addition, Judge Foster suspended respondent-mother’s visitation

     with the children and directed DHHS to initiate termination of parental rights

     proceedings against respondents within the next sixty days.

¶8          On 4 May 2018, respondent-mother entered a six-month residential substance

     abuse treatment program in the state in which the children were living with their



            4  The trial court granted respondent-mother’s request that her current state of
     residence, which is the same as the state in which the children’s maternal aunt and uncle
     live, not be disclosed to respondent-father. As a result, we will refrain in this opinion from
     specifying the state to which respondent-mother relocated after leaving North Carolina in
     May 2018 and in which the maternal aunt and uncle reside.
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     maternal aunt and uncle. Sara was returned to North Carolina on 25 June 2018 and

     lived in an emergency shelter on a temporary basis. In a consent order entered on 25

     July 2018, Judge Foster allowed respondent-mother to have fifteen minutes of

     supervised telephone contact with Sara twice each week. On 8 August 2018, Sara

     was placed with her maternal great aunt and uncle in Rowan County, with Daniel

     having joined Sara in this placement on 9 August 2018. Throughout this period of

     time, respondent-mother remained in the residential substance abuse treatment

     program which she had entered on 4 May 2018.

¶9         At the next permanency planning hearing, which was held on 20 September

     2018, respondent-mother reported that she was scheduled to complete in-patient

     substance abuse treatment on 30 October 2018, had been attending weekly parenting

     classes and individual and group therapy, and intended to take a domestic violence

     education course. In a permanency planning order entered on 21 November 2018,

     Judge Foster found that, while respondent-mother had “begun to maintain regular

     contact with [DHHS,]” she had yet to begin paying child support relating to the

     children. In light of her progress in substance abuse treatment, respondent-mother

     asked Judge Foster to stay the initiation of termination of parental rights

     proceedings. In view of respondent-mother’s delay in entering into a family services

     agreement with DHHS and a determination that respondent-mother “ha[d] not begun

     to fully engage with the components,” Judge Foster denied respondent-mother’s
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       request and determined that “[i]t is in the best interest of the juveniles that

       termination of parental rights be pursued by the Department against the parents[.]”

¶ 10         On 29 January 2019, respondent-mother filed motions seeking to have her

       visitation rights with Daniel and Sara reinstated and to have the initiation of the

       termination of the parental rights proceeding stayed. In support of this motion,

       respondent-mother provided information concerning her progress toward satisfying

       the conditions of her family services agreement, which included the completion of a

       six-month inpatient substance abuse rehabilitation program; the completion of a

       sixty-day intensive outpatient substance abuse treatment program; the submission

       of negative drug screens on a consistent basis since 26 June 2018; her ongoing

       attendance in substance abuse intensive outpatient treatment; the completion of a

       four-hour domestic violence course; the completion of parenting classes; and the

       leasing of a rent-subsidized residence that was suitable for the children as of 20

       November 2018. Respondent-mother asserted that she had “maintained her sobriety

       since April 2018” and had demonstrated overall “stability for several months” and

       claimed that her supervised phone calls with Sara “appear to be going well.”

¶ 11         On 30 April 2019, before respondent-mother’s motions had been heard and

       decided, DHHS filed a petition seeking to have the parents’ parental rights in Daniel

       and Sara terminated. According to the allegations set out in the termination petition,

       respondent-mother’s parental rights in the children were subject to termination on
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       the basis of neglect, N.C.G.S. § 7B-1111(a)(1), and willfully leaving the children in a

       placement outside the home for more than twelve months without making reasonable

       progress toward correcting the conditions that had led to the children’s removal from

       the family home, N.C.G.S. § 7B-1111(a)(2).

¶ 12         Judge Foster held another permanency planning hearing on 2 May 2019 and,

       in an order entered on 22 July 2019, maintained the children’s primary permanent

       plan of adoption. After making findings that acknowledged respondent-mother’s

       progress toward satisfying the requirements of her family services agreement, Judge

       Foster determined that “[t]he conditions that [had] led to the juveniles coming into

       custody have not been corrected,” that respondent-mother “is not in full compliance

       with the components [of] her service agreement,” and that respondent-mother had

       “not made adequate progress with the components of that agreement within a

       reasonable period of time.” Among other things, Judge Foster held that respondent-

       mother had not seen Daniel since “on or about February 8, 2018”; that she “is

       unemployed, and . . . does not have a source of income”; and that she “has significant

       mental health and substance abuse issues, and . . . needs to demonstrate her ability

       to maintain her sobriety.” Although Judge Foster denied respondent-mother’s motion

       to stay the termination of parental rights proceeding, she precluded the termination

       hearing from beginning prior to a permanency planning hearing scheduled for 22

       August 2019. Judge Foster also granted respondent-mother an additional two-hour
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       visitation session with Sara each month5 while ordering that respondent-mother’s

       visitation with Daniel should “remain[ ] suspended until such time as visits are

       recommended by the juvenile’s therapist.”

¶ 13         On 15 May 2019, the guardian ad litem filed a motion for review in which she

       sought to have all contact between respondent-mother and the children suspended in

       response to unauthorized contact that had occurred between respondent-mother and

       Sara. After holding a hearing for the purpose of considering the issues raised by the

       guardian ad litem’s motion for review on 30 May 2019, Judge Foster entered an order

       suspending all “visitation, phone calls or any other form of communication or contact

       between [respondent-mother] and the juveniles” on 27 June 2019. In her order, Judge

       Foster found that Sara, along with several other children, had run away from the

       group home in which she had been placed with several other juveniles on 12 May

       2019; that the employees of the group home had filed a missing person’s report and

       notified DHHS of Sara’s unauthorized departure from her placement without

       permission on 13 May 2019; and that DHHS had notified respondent-mother of Sara’s

       disappearance by e-mail before inquiring if respondent-mother had heard from Sara.

       Judge Foster further found that respondent-mother had responded to a social




             5 In spite of the fact that Judge Foster had formally authorized the resumption of

       respondent-mother’s visitations with Sara at the 2 May 2019 permanency planning hearing,
       the record reflects that respondent-mother participated in supervised visits with Sara on 9
       March 2019, 6 April 2019, and 4 May 2019.
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worker’s e-mail by stating that “she had not heard from her daughter” and that

respondent-mother had remained in contact with the social worker until 5:42 p.m. on

13 May 2019, at which point respondent-mother asked the social worker to “keep

[her] posted.”   In addition, Judge Foster found that, unbeknownst to DHHS,6

respondent-mother “was present in North Carolina on May 13, 2019 due to a criminal

court appearance in Davidson County” and that, after receiving a phone call from

Sara, respondent-mother had arranged to meet Sara and the other juveniles at

approximately 7:00 p.m. on 13 May 2019 for the ostensible purpose of “pick[ing] up

all the children, feed[ing] them and tak[ing] them somewhere.” Judge Foster found

that, “[w]ithin ten to twenty minutes of the phone call,” respondent-mother had

arrived at the location at which she had arranged to meet Sara in a vehicle driven by

her pastor, Joseph Divinsky, that was also occupied by Sara’s maternal grandmother,

and “physically forced [Sara] into [the] vehicle[.]” Judge Foster also found that,

instead of contacting DHHS, law enforcement officers, or employees of the group

home for the purpose of alerting them about the juveniles’ location, respondent-

mother had taken Sara to buy clothes and eat dinner before staying with Sara

overnight in a Salisbury hotel. Finally, Judge Foster found that respondent-mother




      6 As respondent-mother pointed out at the termination hearing, the written report

submitted by the guardian ad litem in advance of the 2 May 2019 permanency planning
hearing stated that “[respondent-mother] currently has pending charges in Davidson County
with an upcoming court date of May 13, 2019.”
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       had only contacted DHHS for the purpose of having Sara returned to her placement

       after missing two phone calls from the social worker on the morning of 14 May 2019.7

       Based upon these findings, Judge Foster determined that respondent-mother had

       “violated the Court’s prior orders by having contact with [Sara] outside of the court-

       ordered visitation and by having Joseph . . . in the presence of [Sara]” and suspended

       all visitation and other forms of contact between respondent-mother and Sara.

¶ 14          The trial court held a pre-trial hearing in the termination proceeding on 8 July

       2019 and set the matter for hearing on 30 September 2019. On the afternoon of 8

       July 2019, respondent-mother filed a motion in which she sought review of the

       children’s permanent plan on the grounds that she had maintained stable housing

       and sobriety for more than eight months, had “renewed her cosmetology license and

       expect[ed] to have employment soon,” and had obtained a favorable result from an

       ICPC home study. Judge Foster denied respondent-mother’s motion for review by

       means of an order entered on 12 September 2019.

¶ 15          Another permanency planning hearing commenced on 22 August 2019 and

       concluded on 20 September 2019. In an order entered on 17 October 2019, Judge

       Foster found that the ICPC home study that had been ordered for respondent-



              7 Although the trial court found in the termination order that respondent-mother had

       contacted DHHS on 15 May 2019, the undisputed evidence established that respondent-
       mother had phoned the social worker on the morning of 14 May 2019, a fact that suggests
       that the trial court’s reference to initial contact having been made on 15 May 2019 is nothing
       more than a clerical error.
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       mother’s residence had been denied on or about 9 August 2019 and that respondent-

       mother remained unemployed and lacked a source of income. Judge Foster noted

       that respondent-mother “had previously reported that she was receiving financial

       assistance from [Joseph’s] Everlasting Arms Ministry” and “is currently engaged to

       Joseph[.]” Based upon these and other findings, Judge Foster ordered DHHS to

       “pursue termination of parental rights against [the parents] as soon as possible.”

¶ 16         The trial court held a three-day termination of parental rights hearing between

       30 September 2019 and 28 October 2019 and entered an order terminating the

       parents’ parental rights in Daniel and Sara on 6 February 2020. In its termination

       order, the trial court determined that respondent-mother’s parental rights in the

       children were subject to termination on the grounds that she had willfully left them

       in an out-of-home placement for more than twelve months without making

       reasonable progress toward correcting the conditions that led to their removal from

       her home, N.C.G.S. § 7B-1111(a)(2),8 and that DHHS had failed to establish that

       respondent-mother’s parental rights in the children were subject to termination on

       the grounds of neglect, N.C.G.S. § 7B-1111(a)(1). After considering the statutory

       dispositional factors delineated in N.C.G.S. § 7B-1110(a), the trial court concluded



             8 The trial court determined that respondent-father’s parental rights in the children

       were subject to termination for neglect, N.C.G.S. § 7B-1111(a)(1); willful failure to make
       reasonable progress toward correcting the conditions that had led to their removal from the
       family home, N.C.G.S. § 7B-1111(a)(2); failure to establish paternity, N.C.G.S. § 7B-
       1111(a)(5); and abandonment, N.C.G.S. § 7B-1111(a) (7).
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       that, while the termination of respondent-mother’s parental rights would be in

       Daniel’s best interests, the same would not be true with respect to Sara.9 As a result,

       the trial court terminated respondent-mother’s parental rights in Daniel while

       leaving her parental rights in Sara intact. Respondent-mother noted an appeal to

       this Court from the trial court’s termination order.

                                 II.    Substantive Legal Analysis

¶ 17          In seeking relief from the trial court’s termination order before this Court,

       respondent-mother contends that the trial court erred by concluding that her

       parental rights in Daniel were subject to termination pursuant to N.C.G.S. § 7B-

       1111(a)(2). We believe that respondent-mother’s contention has merit.

       A.     Relevant Legal Principles

¶ 18          According to well-established North Carolina law,

                     [w]e review a district court’s adjudication under N.C.G.S. §
                     7B-1111(a) to determine whether the findings are
                     supported by clear, cogent and convincing evidence and the
                     findings support the conclusions of law. Unchallenged
                     findings of fact are deemed supported by competent
                     evidence and are binding on appeal. . . .

                     The issue of whether a trial court’s findings of fact support
                     its conclusions of law is reviewed de novo. . . .




              9 The trial court concluded that the termination of the father’s parental rights would

       be in both children’s best interests.
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       In re J.S., 374 N.C. 811, 814–15 (2020) (cleaned up). As a result, the ultimate issue

       raised by respondent-mother’s challenge to the trial court’s termination order is

       whether the findings of fact that the trial court made in the course of determining

       that respondent-mother’s parental rights in Daniel were subject to termination

       pursuant to N.C.G.S. § 7B-1111(a)(2) have adequate record support and whether the

       trial court’s properly supported findings of fact establish that respondent-mother had

       willfully failed to make reasonable progress toward correcting the conditions that had

       resulted in Daniel’s removal from the family home.

¶ 19         According to N.C.G.S. § 7B-1111(a)(2), a parent’s parental rights in a child are

       subject to termination in the event that “[t]he parent has willfully left the juvenile in

       foster care or placement outside the home for more than 12 months without showing

       to the satisfaction of the court that reasonable progress under the circumstances has

       been made in correcting those conditions which led to the removal of the juvenile.”

       N.C.G.S. § 7B-1111(a)(2). “[A]n adjudication under N.C.G.S. § 7B-1111(a)(2) requires

       that a child be left in foster care or placement outside the home pursuant to a court

       order for more than a year at the time the petition to terminate parental rights is

       filed,” In re J.S., 374 N.C. at 815 (cleaned up), with the reasonableness of the parent’s

       progress to be assessed as of the date of termination hearing. Id.

¶ 20         As this Court has previously stated,

                    a finding that a parent acted willfully . . . does not require
                    a showing of fault by the parent. A respondent’s prolonged
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              inability to improve her situation, despite some efforts in
              that direction, will support a finding of willfulness
              regardless of her good intentions, and will support a
              finding of lack of progress sufficient to warrant termination
              of parental rights.

In re J.S., 374 N.C. at 815 (cleaned up). On the other hand, “a trial judge should

refrain from finding that a parent has failed to make ‘reasonable progress . . . in

correcting those conditions which led to the removal of the juvenile’ simply because

of his or her failure to fully satisfy all elements of the case plan goals.’ ” In re A.B.C.,

374 N.C. 752, 760 (2020) (quoting In re B.O.A., 372 N.C. 372, 385 (2019)). Moreover,

while a parent’s “compliance with a judicially adopted case plan is relevant in

determining whether grounds for termination exist pursuant to N.C.G.S. § 7B-

1111(a)(2)[,]” In re B.O.A., 372 N.C. at 384,

              the issue of whether or not the parent is in a position to
              actually regain custody of the children at the time of the
              termination hearing is not a relevant consideration under
              N.C.G.S. § 7B-1111(a)(2), since there is no requirement for
              the respondent-parent to regain custody to avoid
              termination under that ground. Instead, the court must
              only determine whether the respondent-parent had made
              “reasonable progress under the circumstances in correcting
              those conditions which led to the removal of the juvenile.”
              N.C.G.S. § 7B-1111(a)(2). Accordingly, the conditions
              which led to removal are not required to be corrected
              completely to avoid termination. Only reasonable progress
              in correcting the conditions must be shown.

In re J.S., 374 N.C. at 819, 845 S.E.2d at 73 (cleaned up).

B.     Analysis of the Trial Court’s Findings of Fact
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¶ 21         The trial court made the following uncontested findings of fact concerning the

       circumstances that led to the children’s placement outside the family home and the

       initial response that respondent-mother made to the children’s placement in DHHS

       custody:

                   2.     . . . [L]egal and physical custody of the juveniles has
                          remained with [DHHS] continuously since July 26,
                          2017.

                   3.     . . . [In a]pproximately, May 2018, [respondent-
                          mother] left the state of North Carolina for various
                          purposes and reasons, including seeking residential
                          treatment placement in the state where [she]
                          currently resides, being that it was closer to her
                          children, who were placed at the time in the state
                          where the mother currently resides, and removing
                          herself from close geographic proximity to any
                          location where she may encounter [respondent-
                          father]. . . .

                         ....

                   9.     The conditions which led to the juveniles coming into
                          custody include but are not limited to domestic
                          violence between the parents, prior Child Protective
                          Services (CPS) history in Randolph County, the
                          mother’s mental health issues, the parents’ history
                          of unstable housing, and the parents’ substance
                          abuse issues.

                         ....

                   12.    The mother has had an opportunity to correct the
                          conditions that led to the juveniles’ removal from the
                          home, including but not limited to being offered a
                          service   agreement       with    the    Department.
                          [Respondent-mother] willfully delayed entering into
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                          a service agreement because she insisted on entering
                          into the agreement along with [respondent-father].
                          Due to [respondents’] history of domestic violence,
                          the Department would not allow a dual service
                          agreement.

       According to the trial court, respondent-mother “ultimately entered into the service

       agreement with the Department on January 26, 2018, and it was last updated in

       January 2019.”

¶ 22         Next, the trial court made findings that detailed the progress that respondent-

       mother had made in addressing the five components of the family services agreement

       that she entered into with DHHS. The trial court’s findings with respect to each of

       these issues can be summarized as follows:

             1.     Substance abuse

¶ 23         The trial court found that respondent-mother had enrolled in a six-month

       residential substance abuse program on 4 May 2018, had successfully completed the

       program on 30 October 2018, had “enrolled herself into an intensive outpatient

       substance abuse program” after completing inpatient treatment, and had completed

       all three phases of intensive outpatient treatment by 30 April 2019. In addition, the

       trial court found that respondent-mother “continues to work with Baptist Health

       regarding her ongoing mental health treatment and therapy” and had submitted a

       sufficient number of consecutive negative drug screens to satisfy DHHS that the drug
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       screening process could be discontinued. As a result, the trial court determined that

       “[respondent-mother was] in compliance with this component of her case plan.”

             2.     Domestic violence

¶ 24         The trial court found respondent-mother had left North Carolina in early May

       2018 for the purpose, at least in part, of “remov[ing] herself from close geographic

       proximity to any location where she may encounter [the father].” In addition to

       extricating herself from her relationship with the father, the trial court found that

       respondent-mother had completed a four-hour domestic violence course in her current

       state of residence in October 2018, that she had completed “an eight-hour domestic

       violence class and counseling” on 5 April 2019, and that “[n]o other domestic violence

       courses were recommended” for respondent-mother. As a result of her participation

       in this educational and treatment process and the fact that she had not been involved

       in any incidents of domestic violence since leaving North Carolina, the trial court

       found that respondent-mother was “in compliance with this portion of her case plan.”

             3.     Emotional and Mental Health Needs

¶ 25         The trial court found that respondent-mother “is actively engaged in therapy

       and treatment regularly and has consistently done so from the time she left the State

       of North Carolina, up to and through the date of this hearing.” As a result, the trial

       court concluded that respondent-mother was “in compliance with this component of

       her case plan.”
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             4.    Housing, Environment, and Basic Physical Needs

¶ 26         The trial court made the following findings of fact with respect to issues

       relating to housing, the environment in which respondent-mother lived, and

       respondent-mother’s ability to satisfy her basic physical needs and those of the

       children:

                   [Respondent-mother] was ordered to obtain and maintain
                   a suitable home for the juveniles and . . . maintain all
                   utilities without service interruption for 6 months and pay
                   the rent each month on time . . . .

                   In approximately May of 2018, [respondent-mother] . . .
                   entered into a residential treatment program for
                   approximately six months. At the completion of the
                   program, [she] . . . obtained housing on November 20, 2018
                   in her current state of residence. [Respondent-mother]
                   provided [DHHS] Social Worker [Aricia Ross-Clayton] with
                   a copy of her lease as proof of residence with the juveniles’
                   names on the lease. She currently receives a stipend to
                   help with utilities from the state [where] she resides as
                   well as clothes, food and financial assistance from a local
                   charity. An ICPC home study request was completed by
                   the County Department of Human Services in the state
                   where she is currently residing on August 27, 2019. The
                   ICPC home study was completed and the home was
                   appropriate with working utilities. However, the ICPC
                   home study was denied due to [respondent-mother’s]
                   current criminal history. The local authorities were
                   notified that [respondent-mother] was the biological parent
                   and they denied the ICPC home study contrary to their
                   policies for a biological parent on the basis of previous
                   criminal history.

                   Approximately one week after the hearing held on October
                   1, 2019, Social Worker Ross-Clayton received a letter from
                   Jessica Doherty with the Department of Social Services in
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                    [respondent-mother’s] current state of residence regarding
                    exceptions to the ICPC home study policy in regard to
                    biological parents. Ms. Doherty indicated that their
                    Department would be willing to monitor the mother’s
                    home, due to her being the biological parent, despite prior
                    CPS or criminal history.

                    However, this error was not discovered within a sufficient
                    period of time to be corrected without requiring the
                    execution of a completely new ICPC Home Study, which
                    could take several months. The juveniles have been in the
                    custody of [DHHS] for a period in excess of two years and
                    continuing custody for the purpose of conducting a new
                    ICPC home study will continue to prolong the juveniles’
                    placement with [DHHS] without permanence.

                    ....

                    . . . [Respondent-mother] is in compliance of this component
                    of her case plan. The only caution by the Court is that [she]
                    is not currently earning sufficient income to maintain
                    housing independently without external assistance, but . . .
                    there is no reason to think the home is not stable for the
                    indefinite period in the future.

       As a result of the fact that no party to this proceeding has challenged the sufficiency

       of the evidentiary support for these findings, they are binding upon us for purposes

       of appellate review. See Koufman v. Koufman, 330 N.C. 93, 97 (1991).

¶ 27         On the other hand, respondent-mother does challenge the sufficiency of the

       evidentiary support for the portion of Finding of Fact No. 20(a)(1) stating that she

       had “fail[ed] to provide housing currently acceptable and appropriate for the juveniles

       to have any possibility of being placed in her care” lacks sufficient evidentiary

       support. According to both the record evidence and the trial court’s findings of
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       evidentiary fact, however, respondent-mother had leased a residence that was

       suitable for herself and the children and had working utilities since November 2018.

       As of the time of the termination hearing, respondent-mother had maintained

       occupancy of this residence for a period of almost one year. For that reason, the trial

       court expressly found that respondent-mother was “in compliance of this component

       of her case plan” and that “there [was] no reason to think the home is not stable for

       the indefinite period in the future.”

¶ 28         As is reflected in its findings of fact, the trial court’s concern about the stability

       and sufficiency of respondent-mother’s housing arrangements did not stem from any

       deficiency in the condition of the premises that respondent-mother occupied or

       respondent-mother’s ability to continue leasing those premises. Instead, the trial

       court’s concern about respondent-mother’s housing arrangements rested solely upon

       the unfavorable result of the ICPC home study. However, the unfavorable result in

       question rested upon an error made by the relevant agency in the state in which

       respondent-mother resided coupled with the trial court’s unwillingness to tolerate the

       additional delay in achieving permanency for the children that would inevitably

       result from the performance of another ICPC home study. In other words, the trial

       court’s findings indicate that the necessity for the second home study resulted from

       an error made by the relevant agency in the state in which respondent-mother resided

       rather than from respondent-mother’s conduct. As a result, we conclude that the
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       challenged portion of Finding of Fact No. 20(a)(1) relating to respondent-mother’s

       failure to provide acceptable housing lacks sufficient evidentiary support, so that we

       will disregard the relevant portion of that finding of fact in evaluating whether the

       trial court’s findings of fact support its determination that respondent-mother’s

       parental rights in the children were subject to termination pursuant to N.C.G.S. § 7B-

       1111(a)(2).10 See In re S.D., 374 N.C. 67, 75 (2020).

              5.     Parenting Skills

¶ 29          The trial court found that respondent-mother was in “partial compliance” with

       the component of her family services agreement that was intended to address issues

       relating to parenting skills. The trial court found that, while respondent-mother had

       failed to complete the Parenting Assessment Training Education Program prior to

       leaving North Carolina, she had completed “a parenting class through . . . an agency

       in her state and county of residence . . . on October 29, 2018,” “[i]n lieu of the PATE

       program.” In addition, the trial court found that respondent-mother had completed

       a “Nurturing Parenting Program” on 20 February 2019. According to the trial court,



              10 In its brief before this Court, DHHS posits that respondent-mother might not be

       able to renew her subsidized lease at the expiration of her current lease term. The trial court
       expressly found, however, that there was “no reason to think the home is not stable” for the
       foreseeable future. As the Court of Appeals has correctly determined, reliance upon such
       speculative concerns does not suffice to demonstrate a lack of reasonable progress for
       purposes of N.C.G.S. § 7B-1111(a)(2). See In re Nesbitt, 147 N.C. App. 349, 359 (2001)
       (“conclud[ing] that the petitioner has failed to meet its burden of demonstrating by clear,
       cogent and convincing evidence the absence of reasonable progress related to housing to
       support termination of [the respondent-mother’s] parental rights”).
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       the parenting courses that respondent-mother had completed provided “no

       opportunity for the instructor to observe [her] directly interact with the [children] in

       order to evaluate her ability to put the skills and knowledge she learned into action

       in an actual parenting situation.”

¶ 30         In addition, the trial court found that respondent-mother had obtained a

       “parenting psychological assessment through [a provider] located in her current state

       of residence” on 22 April 2019. According to the trial court, no treatment had been

       recommended for respondent-mother, with the assessor having reported that

       respondent-mother “shows no problematic concerns regarding her current parenting

       or past substance abuse history.”

¶ 31         The trial court further found that respondent-mother had not visited Daniel

       since February 2018 and that her visitation with the children remained in a state of

       suspension at the time of the termination hearing.          In spite of the fact that

       respondent-mother had been allowed to visit with the children in the aftermath of

       their removal from the family home, the trial court found that she had “stopped

       showing up to her visits and subsequently her visits with the [children] were

       suspended from May 3, 2018 until March 7, 2019, when her visitation with [Sara]

       was reinstated on a monthly basis. Although the trial court found “no evidence of

       concern” in connection with the supervised visits that respondent-mother had with

       Sara in March, April, and May 2019, those visits were suspended on 30 May 2019
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       “due to [her] actions in response to [Sara] running away from Nazareth Children’s

       Home.”

¶ 32         Respondent-mother argues that a portion of Finding of Fact No. 12(a) that

       describes her handling of the “runaway incident” during 13–14 May 2019 lacks

       sufficient evidentiary support. Even though respondent-mother has not disputed the

       sufficiency of the evidence to support the manner in which the trial court described

       her actions during the “runaway incident” or its finding that her “contact with [Sara]

       during that time violated the existing court orders that limited her to specifically

       scheduled and supervised visitations” and prohibited Sara from “being in the

       presence of [Joseph,]” respondent-mother objects to the trial court’s determination

       that the manner in which she responded to this situation “indicates clear issues

       related to [respondent-mother’s] parenting skills, reflecting that [she] is not in full

       compliance with this component of her case plan.”

¶ 33         As an initial matter, we note that the trial court did not find “clear issues

       related to [respondent-mother’s] parenting skills” based solely upon her decision to

       keep Sara in her custody overnight on 13–14 May 2019 instead of immediately

       notifying law enforcement officials, DHHS, and employees of the group home that she

       had located Sara and was providing care for her. Among other things, the trial court

       also pointed to respondent-mother’s actions after the children entered DHHS custody,

       including “the suspension of her visitation on two separate occasions,” as indicating
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       the existence of unaddressed deficiencies in respondent-mother’s parenting skills.

       (Emphasis added). Aside from the fact that respondent-mother does not challenge

       the sufficiency of the evidence to support the trial court’s findings concerning the

       initial suspension of her visitation rights at the time of the 3 May 2018 permanency

       planning hearing, we note that the 2 July 2018 permanency planning order reflects

       dissatisfaction with respondent-mother’s ongoing substance abuse problems and the

       absence of any meaningful progress toward satisfying the requirements of her family

       services plan.

¶ 34         As far as the “runaway incident” is concerned, we are not unsympathetic to

       respondent-mother’s contention that her primary concern at the time that she

       arranged to meet her daughter on the evening of 13 May 2019 was for Sara’s physical

       and emotional well-being.11 On the other hand, we are prohibited by well-established

       principles of North Carolina law from looking behind the trial court’s determination

       that respondent-mother’s failure to contact DHHS until the following morning

       reflected poor judgment on respondent-mother’s part and violated prior court orders

       given that the trial court’s evaluation of respondent-mother’s conduct is reasonable

       and constitutes nothing more than permissible fact-finding that has adequate

       evidentiary support. See generally In re D.L.W., 368 N.C. 835, 843 (2016) (recognizing



             11 As an aside, we note that the trial court did not find that respondent-mother had

       been in contact with Sara prior to respondent-mother’s last e-mail exchange with the social
       worker at 5:42 p.m. on 13 May 2019.
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       that the trial court has the responsibility, acting in its capacity as the trier of fact, to

       weigh and draw reasonable inferences from the evidence).

¶ 35          Similarly, we reject respondent-mother’s contention that the trial court erred

       by considering the “emergency decisions regarding her runaway teenage daughter”

       and her initial “delay in entering a case plan” after the children had been taken into

       DHHS custody to be relevant to the issue of whether respondent-mother’s parental

       rights in the children were subject to termination pursuant to N.C.G.S. § 7B-

       1111(a)(2). As far as the first of these two objections is concerned, it is clear to us

       that the making of “emergency decisions” is an inherent part of parenting and may

       appropriately be considered by a trial court in the course of evaluating a parent’s

       parenting skills. In addition, we note that, instead of faulting respondent-mother for

       making a split-second decision under the influence of the stress of Sara’s

       disappearance, the trial court’s findings reflect a failure of judgment on the part of

       respondent-mother that occurred over a period of more than twelve hours, during

       which respondent-mother withheld information concerning Sara’s locations from her

       lawful custodians.

¶ 36          In the same vein, we hold that a parent’s delay in signing a case plan or

       attempting to address the conditions leading to a child’s removal from the home has

       indisputable relevance to an evaluation of the willfulness of a parent’s conduct and

       the reasonableness of that parent’s progress in correcting the conditions that had led
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to a child’s removal from the family home for purposes of N.C.G.S. § 7B-1111(a)(2).

See In re I.G.C., 373 N.C. 201, 206 (2019) (affirming a trial court’s determination that

a parent’s parental rights were subject to termination pursuant to N.C.G.S. § 7B-

1111(a)(2) on the grounds that the trial court’s findings demonstrated that

“respondent-mother waited too long to begin working on her case plan and that, as a

result, she had not made reasonable progress toward correcting the conditions that

led to the children’s removal by the time of the termination hearing”); In re Moore,

306 N.C. 394, 405 (1982) (affirming a trial court’s determination that a parent’s

parental rights were subject to termination for failure to make reasonable progress

where the “respondent left the children in foster care for more than four years,” “did

not visit or communicate with them or make any serious effort to do so” during the

first three years of their time in foster care, and “made arrangements to visit the

children and manifested some efforts to arrange a place for the children to live with

her” only after the termination petition had been filed). Although the trial court is,

of course, required to consider any progress that the parent might have made up to

and including the date of the termination hearing in determining the reasonableness

of his or her efforts to eliminate the conditions that had led to a child’s removal from

the family home, see In re I.G.C., 373 N.C. at 206, it should also evaluate the

reasonableness of any progress that the parent has made in light of the amount of

time that the parent had been given to make that progress. See In re J.S., 374 N.C.
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       811, 820–21 (2020) (stating that, “[i]n light of . . . the fact that respondent was

       afforded almost three years to achieve a home environment suitable for her children,

       we conclude that the trial court did not err by finding that respondent failed to make

       reasonable progress pursuant to N.C.G.S. § 7B-1111(a)(2) under these conditions and

       by finding that her failure to do so was willful”).

¶ 37         Finally, we have no hesitation in rejecting respondent-mother’s suggestion

       that the trial court was not entitled to evaluate the parenting decisions that she made

       relating to Sara in evaluating the reasonableness of her progress with regard to

       Daniel. As the trial court’s findings reflect, the conditions that led to the children’s

       removal from the family home and the requirements set out in respondent-mother’s

       family services agreement with DHHS were not child-specific. As a result, to the

       extent that respondent-mother’s interactions with Sara shed light upon the nature

       and extent of her parenting skills, evidence concerning those interactions was equally

       relevant to an evaluation of the progress that respondent-mother had made in

       correcting the conditions that had led to Daniel’s removal from the family home for

       purposes of N.C.G.S. § 7B-1111(a)(2). Cf. In re Allred, 122 N.C. App. 561, 564 (1996)

       (concluding that the parent’s prior neglect of four older children was admissible for

       the purpose of shedding light upon the issue of whether a different child was likely to

       be neglected in the event that that child was returned to the parent’s care); cf. also

       N.C.G.S. § 7B-101(15) (2019) (providing that, “[i]n determining whether a juvenile is
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       a neglected juvenile, it is relevant whether that juvenile . . . lives in a home where

       another juvenile has been subjected to abuse or neglect by an adult who regularly

       lives in the home”). The relevance of respondent-mother’s inactions with Sara is

       particularly obvious in this case given the absence of any interactions between

       respondent-mother and Daniel since February 2018.              As a result, we reject

       respondent-mother’s challenge to the relevant portion of the trial court’s findings.

       C.    Reasonableness of Respondent-Mother’s Progress

¶ 38         In light of our determinations with respect to respondent-mother’s challenges

       to the trial court’s findings of evidentiary fact, we move to a consideration of her

       contention that the trial court’s findings do not support its determination that she

       willfully failed to make reasonable progress toward correcting the conditions that had

       led to the children’s removal from her home pursuant to N.C.G.S. § 7B-1111(a)(2).

       Although this Court and the Court of Appeals have previously characterized this and

       related grounds for termination as both an “ultimate finding” and a “conclusion” of

       law, we review the sufficiency of the trial court’s findings to support its determination

       that a parent’s parental rights in a child are subject to termination pursuant to

       N.C.G.S. § 7B-1111(a)(2) using a de novo standard of review regardless of the manner

       in which the trial court’s decision is ultimately characterized. See In re A.B.C., 374

       N.C. at 761 (holding that the “unchallenged findings of fact support the trial court’s

       conclusion that respondent failed to make reasonable progress to correct the
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       conditions that led to the removal of [the juvenile] from her care” (footnote omitted));

       In re W.K., 376 N.C. 269, 273 (2020) (characterizing a trial court’s determination of

       “neglect” for purposes of N.C.G.S. § 7B-1111(a)(1) as an “ultimate finding”); see also

       In re Z.D., 258 N.C. App. 441, 449 (2018) (stating that, “[b]ecause the evidence and

       findings were insufficient to support the trial court’s ultimate finding that

       Respondent failed to make reasonable progress, we hold the findings do not support

       the conclusion that grounds existed pursuant to N.C.[G.S.] § 7B-1111(a)(2) to

       terminate Respondent’s parental rights”); In re J.S.L., 177 N.C. App. 151, 163 (2006)

       (stating that “[t]he trial court failed to make findings of fact to support a conclusion

       that respondent father ‘willfully left the [children] in foster care for more than 12

       months without showing . . . reasonable progress under the circumstances has been

       made in correcting those conditions which led to the removal of the [children]’ ”

       (alterations in original) (quoting N.C.G.S. § 7B-1111(a)(2))).

¶ 39         In its termination order, the trial court stated that respondent-mother’s

       parental rights in the children were subject to termination pursuant to N.C.G.S. § 7B-

       1111(a)(2) because:

                    The mother has willfully left the juveniles in foster care or
                    placement outside of the home for more than 12 months
                    without showing to the satisfaction of the Court that
                    reasonable progress under the circumstances ha[s] been
                    made in correcting those conditions, which led to the
                    removal of the juveniles. This finding is not based on the
                    reason that the mother cannot care for the juveniles on the
                    account of poverty, but is based solely on the fact [of] the
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                    mother’s delayed engagement in her case plan as noted in
                    this order[;] the failure of her to provide housing currently
                    acceptable and appropriate for the juveniles to have any
                    possibility of being placed in her care[; t]he likelihood, that
                    if this ground were not found, and this case continues
                    under the current circumstances, the juveniles will simply
                    remain in the custody of [DHHS] indefinitely with no
                    ability to make progress towards any reunification nor
                    adoption, and would not be able to make progress on any
                    existing permanent plan; as well as the evidence
                    concerning the mother’s parental decision making from the
                    runaway incident set forth in the findings of fact.

       For the reasons set forth above, we will disregard the trial court’s reference to

       respondent-mother’s supposed “failure . . . to provide housing currently acceptable

       and appropriate for the juveniles to have any possibility of being placed in her care,”

       see In re S.D., 374 N.C. at 83, in evaluating the validity of the trial court’s

       determination that respondent-mother’s parental rights in the children were subject

       to termination pursuant to N.C.G.S. § 7B-1111(a)(2).

¶ 40         According to respondent-mother, “the record and undisputed findings of fact

       establish that [she] made significant and reasonable progress in resolving the

       conditions that brought the children into DHHS custody.” We are unable to dispute

       the validity of this argument given that the record evidence and the trial court’s

       findings establish that respondent-mother had made consistent and sustained

       progress toward correcting the conditions that had led to the children’s removal from

       the family home beginning in May 2018, when she left North Carolina and entered

       residential substance abuse treatment in the state in which the children were, at that
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time, residing.   Among other things, respondent-mother removed herself from

proximity to respondent-father, an action that had the effect of significantly reducing

the likelihood of continued domestic violence between the parents. By the time of the

termination   hearing,    respondent-mother      had      maintained   her   sobriety   for

approximately seventeen months and had maintained housing that was suitable for

herself and the children for approximately twelve months. During the same period

of time, respondent-mother had availed herself of multiple opportunities to obtain

education and treatment relating to her substance abuse, mental and emotional

health, domestic violence, and parenting skills problems. As a result, the record

evidence and the trial court’s findings establish that respondent-mother had

addressed each of the direct or indirect causes for the children’s removal from her

home.   Cf. In re K.D.C., 375 N.C. 784, 794–95 (2020) (reversing a trial court

determination that the parent’s parental rights were subject to termination pursuant

to N.C.G.S. § 7B-1111(a)(2) on the grounds that the record failed to show that the

parent had failed to comply with the provisions of her case plan that were intended

to address her substance abuse problems and established that the parent’s failure to

complete parenting classes was mitigated by her completion of a “Mothering class”).

As a result, after conducting the required de novo review, we hold that the trial court’s

findings of fact simply do not support a determination that respondent-mother had

willfully left the child in foster care or a placement outside the home without showing
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       to the satisfaction of the court that reasonable progress under the circumstances had

       been made in correcting the conditions that had led to the child’s removal pursuant

       to N.C.G.S. § 7B-1111(a)(2).

¶ 41         In urging this Court to affirm the trial court’s order, the guardian ad litem

       emphasizes the fact that Daniel had been in DHHS custody for twenty-seven months

       as of the time of the termination hearing and argues that this case is similar to In re

       I.G.C., in which, even though the parent had been given two years within which to

       correct the conditions that had resulted in the child’s removal from the home, the

       bulk of her progress had been made “between the court’s cessation of reunification

       efforts and the termination hearing.” 373 N.C. at 204. The guardian ad litem notes

       that, in upholding the trial court’s determination that the parent’s parental rights

       were subject to termination pursuant to N.C.G.S. § 7B-1111(a)(2) in In re I.G.C., we

       pointed to the presence of “findings which showed that respondent-mother waited too

       long to begin working on her case plan and that, as a result, she had not made

       reasonable progress toward correcting the conditions that led to the children’s

       removal by the time of the termination hearing.” Id. at 206 (emphasis added).

¶ 42         The facts in this case are, however, clearly distinguishable from those at issue

       in In re I.G.C. The trial court’s findings in this case show that respondent-mother

       began to make significant progress in May 2018 and had continued to do so up to the

       time of the termination hearing, making her actions quite unlike the “limited
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achievements” of the parent in I.G.C., who “failed to complete the recommended

treatment needed to fully address the core issues of substance abuse and domestic

violence which had played the largest roles in the children’s removal.” In re I.G.C.,

373 N.C. at 205. In addition, the parent in In re I.G.C. “failed to obtain stable housing

for at least six months[,]” id. at 205, 835 S.E.2d at 435, and acknowledged at the

termination hearing that “she would not feel comfortable having the children

returned to her care for another ‘year, year and a half’ because she feared the

possibility that she would relapse.” Id. at 205. Simply put, this case simply does not

involve last-minute, limited steps taken by a parent faced with the looming prospect

of having his or her parental rights terminated of the type that existed in I.G.C, cf.

In re O.W.D.A., 375 N.C. 645, 653–54 (2020) (concluding that a parent’s “eleventh-

hour efforts” that resulted in “some minimal progress during his most recent

incarceration” were insufficient to “outweigh the evidence of his persistent failures to

make improvements while not incarcerated” for the purpose of determining the

“probability of repetition of neglect” under N.C.G.S. § 7B-1111(a)(1)); “[e]xtremely

limited progress” by a parent, In re Nolen, 117 N.C. App. 693, 700 (1995), or the

“prolonged inability” of a parent “to improve her situation, despite some efforts in

that direction[,]” In re B.S.D.S., 163 N.C. App. 540, 546 (2004). On the contrary, the

trial court’s properly supported findings demonstrate the existence of sustained and
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       largely successful efforts by respondent-mother to satisfy the requirements of her

       case plan.

¶ 43         As both DHHS and the guardian ad litem point out, an analysis of the trial

       court’s findings reflects that the sole unresolved issue that respondent-mother faced

       at the time of the termination hearing involved her failure to fully demonstrate

       sufficient improvement in her parenting skills. Admittedly, respondent-mother had

       not visited Daniel since February 2018. For that reason, respondent-mother had not

       been able to show, in a practical setting, that she had been able to actually achieve

       the positive results that one might have predicted based upon her successful

       completion of parenting courses in October 2018 and February 2019 and the favorable

       parenting assessment that she received in April 2019. On the other hand, the record

       reflects that respondent-mother unsuccessfully requested the trial court to reinstate

       her visitation rights relating to Daniel in January 2019 in light of the substantial

       progress that she claimed to have made in satisfying the requirements of her family

       services agreement and that she lacked the ability to require the trial court to allow

       her to visit with Daniel. See In re K.L.T., 374 N.C. 826, 840, (2020). Moreover, as

       respondent-mother notes in her reply brief, the trial court had been amenable to

       allowing the resumption of her visits with Daniel at the time of the 2 May 2019

       permanency planning hearing in the event that Daniel’s therapist viewed the

       prospect of such visits in a favorable light, an event that had not occurred as of 30
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       May 2019, when Judge Foster suspended her contact with the children in the

       aftermath of the “runaway incident.” Finally, the record contains no indication that

       Daniel’s therapist had any concerns about respondent-mother’s progress in satisfying

       the requirements of her family service agreement or her parenting skills or any

       indication that anything untoward had occurred during respondent-mother’s three

       supervised visits with Sara in March, April, and May 2019.

¶ 44         Although the trial court was, as we have already indicated, fully entitled to

       consider respondent-mother’s actions during the “runaway incident” in assessing

       whether her parental rights in the children were subject to termination pursuant to

       N.C.G.S. § 7B-1111(a)(2), her actions on that occasion must be viewed in the context

       of her overall success in addressing the principal causes for the children’s removal

       from her home, including her problems with substance abuse, domestic violence,

       mental health, and housing instability, and her partial success in satisfying the

       parenting skills component of her family services agreement. See In re K.D.C., 375

       N.C. at 794–95. After considering the trial court’s properly supported findings in

       their entirety, we conclude that respondent-mother’s serious error of judgment at the

       time of the “runaway incident” is not sufficient, without more, to support the trial

       court’s conclusion that respondent-mother had willfully failed to make reasonable

       progress toward correcting the conditions that had led to the children’s removal from

       the family home. As a result, the trial court’s properly supported findings of fact,
                                        IN RE D.A.A.R., S.A.L.R.

                                              2021-NCSC-45

                                            Opinion of the Court



       considered in their entirety, simply do not suffice to support its determination that

       respondent-mother’s parental rights in the children were subject to termination

       pursuant to N.C.G.S. § 7B-1111(a)(2).

¶ 45          Our decision that the trial court’s termination order should be reversed is

       bolstered by the trial court’s determination that respondent-mother’s parental rights

       in the children were not subject to termination for neglect pursuant to N.C.G.S. § 7B-

       1111(a)(1) in view of DHHS’ failure to prove that the children would probably

       experience future neglect if they were returned to respondent-mother’s care. In view

       of the fact that respondent-mother was not required to show that her immediate

       reunification with the children would be appropriate in order to preclude a

       determination that her parental rights in the children were subject to termination

       pursuant to N.C.G.S. § 7B-1111(a)(2), see In re J.S., 374 N.C. at 819–20,12 the trial

       court’s conclusion that DHHS had failed to show a likelihood of further neglect tends

       to suggest that respondent-mother had, in fact, made adequate progress in correcting

       the conditions that had led to the children’s removal from the family home. As a

       result, for all of these reasons, the trial court’s order terminating respondent-mother’s

       parental rights in Daniel is reversed.



              12 We do not, of course, wish to be understood as holding that a parent could never be

       required to be able to immediately reunify with the children in order to avoid a finding that
       his or her parental rights in the children were not subject to termination pursuant to
       N.C.G.S. § 7B-1111(a)(2); we simply hold that, no such requirement could have been
       appropriately imposed in this case.
            IN RE D.A.A.R., S.A.L.R.

                 2021-NCSC-45

               Opinion of the Court



REVERSED.
